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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


                                                      )
PETER P. STRZOK,                                      )
                                                      )
                       Plaintiff,                     )
                                                      )
               v.                                     )       Civil Action No. 19-2367 (ABJ)
                                                      )
ATTORNEY GENERAL MERRICK B.                           )
GARLAND, in his official capacity, et al.,            )
                                                      )
                       Defendants.                    )
                                                      )

DECLARATION OF CHRISTOPHER R. MACCOLL IN SUPPORT OF PLAINTIFF’S
 MOTION FOR SUMMARY JUDGMENT AND IN OPPOSITION TO DEFENDANTS’
                MOTION FOR SUMMARY JUDGMENT

       I, Christopher R. MacColl, make the following declaration pursuant to 28 U.S.C. § 1746,

and state that under penalty of perjury the following is true and correct to the best of my knowledge

and belief:

       1.      I am an associate with Zuckerman Spaeder LLP. I have filed an appearance in this

matter as an attorney for Peter Strzok.

       2.      The exhibits identified below are “true and correct” in that they are unaltered from

the form produced, used in discovery, or collected from a reliable source, except to the extent

redactions or slipsheets have been applied.

       3.      Attached as Exhibit 1 is a true and correct copy of an email from OPR Unit Chief

to Aitan Goelman, Peter Strzok Last Chance Agreement, attaching the unsigned Last Chance

Agreement (July 25, 2018) (FBI-Strzok-0001743).




                                                                                             10006437.1
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       4.     Attached as Exhibit 2 is a true and correct copy of an email from Aitan Goelman to

OPR Unit Chief Staff, FW: 2018-07-26_Last Chance_Adjudication Agreement.PDF, attaching the

signed Last Chance Agreement (July 26, 2018) (FBI-Strzok-0001747).

       5.     Attached as Exhibit 3 is a true and correct copy of a letter from Assistant Director

Candice Will to Peter Strzok, regarding OPR’s final disciplinary decision (August 8, 2018)

(PSTRZOK-DOJ-00011635).

       6.     Attached as Exhibit 4 is a true and correct copy of an email among FBI OPR

employees, OPR’s Bi-Weekly Report: July 28 – August 10, 2018 ---UNCLASSIFIED (August 8,

2018) (FBI0007135).

       7.     Attached as Exhibit 5 is a true and correct copy of an email from Assistant Director

Candice Will to Christopher Wray, David Bowdich, and others, OPR’s Bi-Weekly Report: July 28

– August 10, 2018 ---UNCLASSIFIED (August 10, 2018) (FBI0049700).

       8.     Attached as Exhibit 6 is a true and correct copy of a Draft Termination Letter from

David Bowdich (emailed March 5, 2021) (FBI0069666).

       9.     Attached as Exhibit 7 is a true and correct copy of an email from an FBI employee

to OPR AD Candice Will, letter – UNCLASSIFIED, attaching STRZOKLETTER.docx (August

8, 2018) (FBI0006908).

       10.    Attached as Exhibit 8 is a true and correct copy of an email from OPR AD Candice

Will to Bowdich’s assistant, RE: letter – UNCLASSIFIED, attaching STRZOKLETTER.docx

(August 8, 2018) (FBI0006911).

       11.    Attached as Exhibit 9 is a true and correct copy of an email chain between OPR

and Aitan Goelman, Re: Peter Strzok (August 9, 2018) (FBI-Strzok-0001824).




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       12.     Attached as Exhibit 10 is a true and correct copy of a letter from Deputy Director

David Bowdich to Peter Strzok (August 9, 2018) (PSTRZOK-DOJ-00011670).

       13.     Attached as Exhibit 11 is a true and correct copy of an email chain between an OPR

Unit Chief and Candice Will, Fwd: RE: Peter Strzok character reference (August 10, 2018) (FBI-

Strzok-0001832).

       14.     Attached as Exhibit 12 is a true and correct copy of an email from Aitan Goelman’s

legal assistant to an OPR Unit Chief, Letter to Candice Will re Response of Peter Strzok, attaching

2018-07-17 Letter to Candice Will re Response of Peter Strzok.pdf (July 17, 2018) (FBI-Strzok-

0001715).

       15.     Attached as Exhibit 13 is a true and correct copy of a memo, Douglas Factors

response requested for DAD Peter Strzok from AD HRD (June 14, 2018) (FBI-STRZOK-

00000222).

       16.     Attached as Exhibit 14 is a true and correct copy of a memo, Synopsis: To provide

Douglas Factors for DAD Peter P. Strzok II. (June 15, 2018) (FBI-STRZOK-00000213).

       17.     Attached as Exhibit 15 is a true and correct copy of an email thread, RE: Strzok

Goelman Email Aug 13 18 (August 13, 2018) (FBI-Strzok-0001677).

       18.     Attached as Exhibit 16 is a true and correct copy of a letter from an OPR Unit Chief,

review of an administrative inquiry investigated by the OIG, Department of Justice regarding

allegations (June 15, 2018) (PSTRZOK-DOJ-00000035)

       19.     Attached as Exhibit 17 are true and correct excerpts of the Peter Strzok Deposition

Transcript (August 8, 2022).

       20.     Attached as Exhibit 18 are true and correct excerpts of the Candice Will Deposition

Transcript (June 15, 2022).




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       21.     Attached as Exhibit 19 are true and correct excerpts of the Peter Winn Deposition

Transcript (February 2, 2022).

       22.     Attached as Exhibit 20 are true and correct excerptss of the Michael Horowitz

Deposition Transcript (April 20, 2022).

       23.     Attached as Exhibit 21 is a true and copy of the David Bowdich Deposition

Transcript (September 9, 2022).

       24.     Attached as Exhibit 22 is a true and correct copy of the Donald Trump Deposition

Transcript (October 17, 2023).

       25.     Attached as Exhibit 23 are true and correct excerpts of the Sarah Isgur Deposition

Transcript (February 4, 2022).

       26.     Attached as Exhibit 24 are true and correct excerpts of the Nancy McNamara

Deposition Transcript (August 12, 2022).

       27.     Attached as Exhibit 25 is a true and correct copy of Peter Strzok’s Amended

Interrogatory Responses, Redacted (November 2, 2023).

       28.     Attached as Exhibit 26 are true and correct excerpts of the FBI 30(b)(6) Deposition

Transcript (April 14, 2023) (“30(b)(6)”).

       29.     Attached as Exhibit 27 is a true and correct copy of emails exchanged with Director

of Public Affairs Sarah Isgur Flores, Re: FOX Q – FBI AGENT REMOVED FROM RUSSIA

INVESTIGATION? (December 2, 2017) (STRZOK_PAGE_DOJ_00000001).

       30.     Attached as Exhibit 28 is a true and correct copy of emails exchanged with Director

of Public Affairs Sarah Isgur Flores, Re: NYT/WP stories on transfer of FBI agent Strzok

(December 2, 2017) (STRZOK_PAGE_DOJ_00000008).




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         31.   Attached as Exhibit 29 is a true and correct copy of emails exchanged with Director

of Public Affairs Sarah Isgur Flores, Re: Statement from the AG (December 2, 2017)

(STRZOK_PAGE_DOJ_00000009).

         32.   Attached as Exhibit 30 is a true and correct copy of emails between Director of

Public     Affairs   Sarah       Isgur    Flores      and         journalists   (December     15,    2017)

(STRZOK_PAGE_DOJ_00005165).

         33.   Attached as Exhibit 31 is a true and correct copy of an email among OIG

employees,     Greatest   Hits    and     Political       Texts    Spreadsheets   (December     8,   2017)

(STRZOK_PAGE_DOJ_00000482).

         34.   Attached as Exhibit 32 is a true and correct copy of an email among OPR

employees, News (April 12, 2018) (FBI0027830).

         35.   Attached as Exhibit 33 is a true and correct copy of a handwritten note to Peter

Strzok (PSTRZOK-DOJ-00011118).

         36.   Attached as Exhibit 34 is a true and correct copy of a tweet from Donald Trump,

Lover FBI Agent Peter Strzok (June 28, 2018) (PSTRZOK-DOJ-00014275).

         37.   Attached as Exhibit 35 is a true and correct copy of a tweet from Donald Trump, I

am on Air Force one flying to NATO and hearing reports that the FBI lovers Peter Strzok and Lisa

Page… (July 10, 2018) (PSTRZOK-DOJ-00014289).

         38.   Attached as Exhibit 36 is a true and correct copy of Congressional Testimony

Hearing Transcripts (July 12, 2018).

         39.   Attached as Exhibit 37 is a true and correct copy of an email thread, FW: Request

re: [REDACTED] as it pertains to 2 individuals in question --- UNCLASSIFIED //FOUO (January

23, 2018) (FBI0035632).




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       40.     Attached as Exhibit 38 is a true and correct copy of tweets from Donald Trump, In

one of the biggest stories in a long time, the FBI now says it is missing five months worth of lovers

Strzok-Page texts,…(January 23, 2018, 6:55 AM) and Where are the 50,000 important text

messages between FBI lovers Lisa Page and Peter Strzok?...(January 23, 2018, 10:54 PM)

(PSTRZOK-DOJ-00014245).

       41.     Attached as Exhibit 39 is a true and correct copy of a Fox News story, Senator Rand

Paul: Do FBI agents Strzok and Page still have security clearances? The answer should alarm

you. (April 16, 2018) (Bowdich Dep. Ex. 28).

       42.     Attached as Exhibit 40 is a true and correct copy of VOX Exclusive: Trump pressed

Sessions to fire 2 FBI officials who sent anti-Trump text messages by Murray Waas (April 20,

2018) (PSTRZOK-DOJ-00010615).

       43.     Attached as Exhibit 41 is a true and correct copy of FBI Public Affairs – Director’s

AM News Briefing (April 23, 2018, 5:00 AM EDT) (FBI0057830).

       44.     Attached as Exhibit 42 is a true and correct copy of FBI Public Affairs – Director’s

AM News Briefing (April 30, 2018, 5:00 AM EDT) (FBI0057861).

       45.     Attached as Exhibit 43 is a true and correct copy of an email from Michael

Horowitz to an employee (May 1, 2018) (STRZOK_PAGE_DOJ-OIG_00002099).

       46.     Attached as Exhibit 44 is a true and correct copy of an email thread between

Assistant Director Candice Will and another government employee (May 3, 2018)

(STRZOK_PAGE_DOJ-OIG_00003319).

       47.     Attached as Exhibit 45 is a true and correct copy of a tweet from Donald Trump,

Lisa Page, who may hold the record for the most Emails in the shortest period of time (to her

Lover, Peter S)… (May 7, 2018) (PSTRZOK-DOJ-00014250).




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       48.     Attached as Exhibit 46 is a true and correct copy of an FBI Public Affairs –

Director’s AM News Briefing (May 8, 2018, 5:00 AM EDT) (FBI0057901).

       49.     Attached as Exhibit 47 is a true and correct copy an Email thread between Michael

Horowitz and a government employee, RE: Report (May 14, 2018) (STRZOK_PAGE_DOJ-

OIG_00002025).

       50.     Attached as Exhibit 48 is a true and correct copy of FBI Public Affairs – Director’s

AM News Briefing (June 22, 2018, 5:00 AM EDT) (FBI0058123).

       51.     Attached as Exhibit 49 is a true and correct copy of FBI Public Affairs – Director’s

AM News Briefing (July 12, 2018, 5:00 AM EDT) (FBI0058343).

       52.     Attached as Exhibit 50 is a true and correct copy of FBI Public Affairs – Director’s

AM News Briefing (July 16, 2018, 5:00 AM EDT) (FBI0058391).

       53.     Attached as Exhibit 51 is a true and correct copy of Notification Memo from AD,

Inspection Division to AD, Human Resources Division, Peter P. Strzok II, DAD Human Resources

Division DOJ Oversight and Review Investigation Administrative Inquiry (June 13, 2018) (FBI-

STRZOK-00000225).

       54.     Attached as Exhibit 52 is a true and correct copy of DOJ-OIG, Review of the

Federal Bureau of Investigation’s Adjudication Process for Misconduct Investigations 21-127

(September            2021),           (PSTRZOK-DOJ-00010625),                 available         at

https://oig.justice.gov/sites/default/files/reports/21-127.pdf.

       55.     Attached as Exhibit 53 is a true and correct copy of an email thread between OPR

employees and Aitan Goelman, Re: Peter Strzok (July 30, 2018) (FBI-Strzok-0001757).

       56.     Attached as Exhibit 54 is a true and correct excerpt of the Scott Schools Deposition

Transcript (May 19, 2023).




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       57.    Attached as Exhibit 55 is a true and correct copy of an email thread between OPR

employees, Re: Peter Strzok character reference (August 6, 2018) (FBI-Strzok-0001817).

       58.    Attached as Exhibit 56 is a true and correct copy of an email thread between OPR

employees, RE: Peter Strzok (July 31, 2018) (FBI-Strzok-0001786).

       59.    Attached as Exhibit 57 is a true and correct copy of an email thread between OPR

employees, RE: Peter Strzok character reference (August 6, 2018) (FBI-Strzok-0001819).

       60.    Attached as Exhibit 58 is a true and correct copy of email thread between FBI

General Counsel and OPR Unit Chief, RE: Peter Strzok character reference (August 1, 2018)

(FBI-Strzok-0001793).

       61.    Attached as Exhibit 59 is a true and correct copy of the Christopher Wray

Deposition Transcript (June 27, 2023).

       62.    Attached as Exhibit 60 is a true and correct copy of OPR, Offense Codes and

Penalty Guidelines 2017 Governing FBI’s Internal Disciplinary Process (FBI0070053).

       63.    Attached as Exhibit 61 is a true and correct copy of Disciplinary Appeals Process

0915D (FBI-STRZOK-0006877).

       64.    Attached as Exhibit 62 is a true and correct copy of a Supplemental Political Speech

Precedent Reports (FBI0007046).

       65.    Attached as Exhibit 63 is a true and correct copy of a Letter from Deputy Director

John Pistole Redacted (February 11, 2005) (FBI0069664).

       66.    Attached as Exhibit 64 is a true and correct copy of “Last Chance” Adjudication

Agreement for [Employee Name] Month 20xx (Template Letter) (FBI0070090).




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       67.    Attached as Exhibit 65 is a true and correct copy of Designees for the Purposes of

Summary Dismissal and Disciplinary Review from FBI Director Christopher Wray (March 10,

2022) (FBI0070089).

       68.    Attached as Exhibit 66 is a true and correct copy of a letter from OPR Unit Chief

Jessica Loreto to [Redacted] (July 18, 2018) (FBI0041026).

       69.    Attached as Exhibit 67 is a true and correct copy of an email thread from Candice

Will, RE: Re: (May 30, 2018) (FBI0032323).

       70.    Attached as Exhibit 68 is a true and correct copy of Political Speech Precedent

Reports, as produced (FBI001665).

       71.    Attached as Exhibit 69 is a true and correct copy of a letter from OPR Unit Chief

to [Redacted] (July 18, 2018) (FBI0041016).

       72.    Attached as Exhibit 70 is a true and correct copy of a letter from AU-I OPR to

[Redacted] (August 19, 2021) (FBI0041046).

       73.    Attached as Exhibit 71 is a true and correct copy of a letter from OPR Unit Chief

to [Redacted] (July 18, 2018) (FBI0041005).

       74.    Attached as Exhibit 72 is a true and correct copy of an email thread between

Bradley Humphreys and Christopher MacColl, RE: Strzok v. Garland (August 6, 2024).

       75.    Attached as Exhibit 73 is a true and correct copy of The New York Times, Mueller

Removed Top Agent in Russia Inquiry Over Possible Anti-Trump Texts, by Michael Schmidt, Matt

Apuzzo and Adam Goldman (December 2, 2017) (Isgur Ex. 3).

       76.    Attached as Exhibit 74 is a true and correct copy of The Washington Post, Top FBI

official assigned to Mueller’s Russia probe said to have been removed after sending anti-Trump

texts by Karoun Demirjian and Devlin Barret (December 2, 2017) (Isgur Ex. 4).




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       77.     Attached as Exhibit 75 is a true and correct copy of tweets from Donald Trump,

FBI Agent Peter Strzok (on the Mueller Team) should have recused himself on day one…(August

1, 2018, 9:03 AM) and …..remain in the FBI while he himself was being investigated…(August 1,

2018, 9:15 AM) (PSTRZOK-DOJ-00014272).

       78.     Attached as Exhibit 76 is a true and correct copy of an email from White House

Press Office to DOJ employee, Remarks by President Trump in Press Gaggle (June 15, 2018,

12:41 PM) (STRZOK_PAGE_DOJ_00005386).

       79.     Attached as Exhibit 77 is a true and correct copy of Briefing Notes Prepared by

Scott Schools (STRZOK_PAGE_DOJ00014244).

       80.     Attached as Exhibit 78 is a true and correct copy of an email thread between

Assistant Director Candice Will and employee, Re: Page/Strzok Case (April 12, 2018) (FBI-

Strzok-0003686).

       81.     Attached as Exhibit 79 is a true and correct copy of FBI Public Affairs – Director’s

AM News Briefing (June 18, 2018, 5:00 AM EDT) (FBI0058053).

       82.     Attached as Exhibit 80 is a true and correct copy of Oversight Hearing with Deputy

AG Rod Rosenstein before the Committee on the Judiciary House of Representatives | One

Hundred Fifteenth Congress | First Session | December 13, 2017 | Serial No. 115-49.

       83.     Attached as Exhibit 81 is a true and correct copy of Defendants’ Objections and

Responses to Plaintiff Strzok’s First Set of Interrogatories.

       84.     Attached as Exhibit 82 is a document with certain text messages produced by

Defendants in this action (STRZOK_PAGE_DOJ-OIG_00011691).




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       85.    Attached as Exhibit 83 is a document with certain text messages produced by

Defendants in this action that has been slipsheeted to omit approximately 245 pages of messages

(STRZOK_PAGE_DOJ-O1G_00011704).

       86.    Attached as Exhibit 84 is a true and correct copy of the expert Report of Professor

Danielle Citron (Nov. 9, 2021) (“Citron Rpt.”).

       87.    Attached as Exhibit 85 is a true and correct scan of the Declaration of Retired

General and Former White House Chief of Staff John F. Kelly (May 12, 2023).

       88.    Attached as Exhibit 86 is a true and correct scan of the Declaration of Andrew

George McCabe (October 23, 2024).


Executed: October 31, 2024                             /s/ Christopher R. MacColl
                                                       Christopher R. MacColl




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